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                                                                                     Filed
                                                                                     D.C. Superior Court
                                                                                     10/18/2019 09:83AM
                                                                                     Clerk o£ the Court

             THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                               (Civil Division)


                                                     )
MA SHUN BELL
5201 Hayes St, NE #LL03                              ) Case No: 2019 CA 006826 B
Washington, DC 20019                                 )
                                                     )
               V.                                   )
                                                     ) Jury Demand
FIRST INVESTORS                                      )
SERVICING CORPORATION                                )
c/o CORPORATION SERVICE COMPANY                      )
1090 Vermont Ave. NW                                 )
Washington, DC 20005                                 )
                                                     1

           CLASS CLAIMS FOR DAMAGES AND FOR INCIDENTAL RELIEF
                        REOUEST FOR TRIAL BY JURY

                                       INTRODUCTION

        Plaintiff, Ma Shun Bell, individually, and on behalf of those similarly situated, -and on

behalf of the general public, brings this action on behalf of himself and.those similarly situated

against First Investors Servicing Corporation ("FISC"), and Does 1-20 for violations of Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), the Consumer Protection and

Procedures Act, D.C. Code § 3901, et seq. ("CPPA") and individually for abuse of process and

violations of the FDCPA, the CPPA and the District of Columbia Debt Collection Law, D.C.

Code §3814, et seq. ("DCDCL") for a fmding that FISC debt collection actions violated the

FDCPA, the CPPA and the DCDCL and to seek injunctive and monetary relief to redress the

unlawful debt collection practices and to recover damages. Plaintiff alleges:

                                           PARTIES

1._ _   FISC, First Investors_Servicing_Corporation-("FISC—"),-is-a-Georgia Corporation that acts    —

as a debt collector, as defined by § 1692a of the FDCPA and DC Code: § 28-3814(b)(2), a
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             "merchant" as defined by § 2 8-3 90 1 (a)(3) because it regularly uses the courts, mails and/or the

             telephone, in its business, the principal purpose of which is to collect, or attempt to collect,

             directly or indirectly, delinquent consumer debts. FISC collects on large portfolios of deficiency

             debts through lawsuits and dunning letters. FISC is also a"holder" as defined by 16 DCMR §

             399.1, as it represents that it is entitled to the alleged deficiency resulting from the repossession

             and sale of the Vehicle.

             2.      Ma Shun Bell is an individual residing in the District of Columbia and is a consumer as

             defined by § 1692a(3) and § 28-3901(a)(2) and a"buyer" as defined 16 DCMR § 399.1 as the

             Vehicle was purchased and used for personal, household or family purposes and Ms. Bell is to

             whom title to the Vehicle was transferred.

             3.      FISC is authorized and licensed to conduct business in the District of Columbia and

             maintains a registered agent in the District of Columbia. 15 U.S.C. § 1692a(6), provides that "any

             person who uses any instrumentality of interstate commerce or the mails in any business the principal

             purpose of which is the collection of any debts." FISC conducts significant business in the District of

             Columbia.

             4.     Upon information and belief, FISC collects debts alleged to be owed by District of Columbia

             residents relating to deficiency amounts allegedly due from the repossession and sale of automobiles.

                                                       JURISDICTION

             5.     The court has jurisdiction over this action pursuant to D.C. Code § 13-423(a)(1) and D.C.

             Code § 13-423(a)(6)

             6.     Venue is proper insofar as the acts and/or omissions giving rise to Ms. Bell's claims

             occurred in this judicial district and because there is personal jurisdiction in this district over the

_— -   -   FISC-as-it regularly conducts business in this judicial district.
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7.      Furthermore, FISC' violations of the FDCPA, the DCDCL and the DCCPPA resulted in

statutory harms to residents of this judicial district at all times relevant.

                ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

8.      Ma Shun Bell purchased a MAZDA 54 CYL VIN JMICR2WLBA0368380 ("Vehicle")

from A&H Motors in 2012.

9.     Ms. Bell fell upon difficult financial times and was unable to make payments on the

Vehicle towards the end of 2016.

10.    FISC repossessed the Vehicle in November or December 2016.

11.    Ms. Bell was never notified that FISC intended to repossess the Vehicle.

12.    Ms. Bell was never notified that the Vehicle had been repossessed nor was she notified

where she would be able to collect her personal belongings that were in the Vehicle at the time of

the repossession.

13.    The "Explanation of Calculation of Surplus or Deficiency" letter attached to FISC's

complaint states that FISC charged $850 for the retaking of the Vehicle.

14.    The "Explanation of Calculation of Surplus or Deficiency" letter attached to FISC's

complaint also states a charge for an attorney fee of $1175.00.

15.    FISC uses the "Explanation of Calculation of Surplus or Deficiency" as one method of

collecting deficiency amounts from District of Columbia consumers.

16.     FISC engaged in collection efforts (via lawsuit/letters/telephone callsLadverse credit

reporting or a combination thereof) to collect a deficiency amounts that it is barred from

collecting by DC law.


       C L A S S ACTION AND_PRIVATE-AT-T-ORNE-Y-GENERAL--AL-L-EGATIONS-

17.   Pursuant to 16 DCMR § 300 et seq, Plaintiff brings this action on behalf of herself and all
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      other persons similarly situated. Plaintiff also brings this action as a private attorney general

      acting on behalf of the general public and in a representative capacity to remedy the ongoing

      unlawful, unfair and fraudulent business practices alleged herein, and to seek redress on behalf of

      all those persons who have been affected thereby and pursuant to Super. Ct. Civ. R. 23(a), (b)(2)

      and (b)(3) Ms. Bell brings this action on behalf of a class.

c.,   18. Upon information and belief, the proposed class is comprised of all persons who

      purchased a motor vehicle, and as part of that transaction, the Retail Installment Contract was

      assigned/sold/serviced by FISC and such individuals who entered into an agreement with First

      Investor's Financial Services ("FIFS"), andlor First Investors Servicing Corporation and/or First

      Automobile Receivables and any other person or entity, and from whom, in the three years

      preceding the filing of this action FISC sought a deficiency amount relating to ±he repossession

      of an automobile where FISC failed to comply with 16 DCMR § 300 et seq>

      19.    Upon information and belief, one subclass consists of (i) all District of Columbia

      consumers who entered into an agreement to finance a motor vehicle (ii) whose accounts were

      subsequently serviced, sold or assigned to FISC, either directly or through a third party (iii)

      where an "Explanation of Calculation of Surplus or Deficiency" notice was draffted (iv) and from

      whom FISC sought to collect a deficiency amount.

      20.    Upon information and belief, one subclass consists of (i) all District of Colurnbia

      consumers who entered into an agreement to fmance a motor vehicle (ii) whose accounts were

      subsequently serviced, sold or assigned to FISC, either directly or through a third party (iii)

      where FISC failed to comply with 16 DCMR § 300 et seq (iv) and from whom FISC sought to

      collect a deficiency amount relating to a repossession.

      21.   The amount in controversy does not exceed $74,999 for any member of the class.
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22.    Plaintiff is unable to state the precise number of potential members of the proposed class

because that information is in the possession of FISC. Upon information and belief, the class

consists of at least 30 members and is so numerous that joinder of all members;would be

impracticable. The exact size of the proposed class, and the identity of the members thereof, will

be readily ascertainable from the business records of FISC.

23.    Certification of a class under Rule 23(b)(3) is appropriate because there is a community of

interest among the members of the proposed class in that there are questions of law and fact

common to the proposed class that predominate over questions affecting only individual

members and a class action is superior to other available methods for the fair and efficient

adjudication of the controversy. These questions include, inter alia, whether FISC failed to

provide to individuals whose motor vehicles were repossessed notice containing all disclosures

required by the AFRA;whether FISC provided defective notice to individuals relating to

repossession of a vehicle; whether FISC charged more than $100 as costs for retaking a motor

vehicle; whether FISC collected, or has attempted to collect, deficiency balances from members

of the proposed class that it had no legal right to obtain or attempt to collect; whether FISC

negligently and/or fraudulently misrepresented to borrowers that they were liable for deficiency

balances when there was no obligation to pay such amounts, and/or falsely reported deficiencies

as valid debts to credit reporting organizations. Proof of a common set of facts will establish the

liability of FISC, and the right of each member of the class to recover.

36.     The claims and defenses of the representative parties are typical of those of the class

Plaintiff represents, which all arise from the same operative facts and are base& on the same legal

theories, and Plaintiff will fairly and adequately represent the interests of the class. Plaintiff is
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represented by counsel competent and experienced in both consumer protection and class action

litigation.

24.     A class action is superior to other methods for the fair and efficient adjudication of this

controversy. Because the damages suffered by the individual class members may be relatively

small compared to the expense and burden of litigation, it would be impracticable and

economically unfeasible for class members to seek redress individually. Management of these

class claims are likely to present significantly fewer difficulties than those presented in many

class claims. Further, the nature of this type of wrong is unlikely to be detected or remedied

without a class action. The prosecution of separate actions by the individual class members,

even if possible, would create a risk of inconsistent or varying adjudications with respect to

individual class members against FISC, and would establish incompatible standards of conduct

for FISC.

25.     Certification of a class under Rule 23(b)(2) is also appropriate because FISC acted on

grounds generally applicable to the class, thereby making appropriate final injunctive relief and

corresponding declaratory relief with respect to the class as a whole.

                            VI. FISC'S POLICES AND PRACTICES

26.     It is the standard policy and practice of FISC to falsely represent the character, amount or

legal status of debt.

27.     It is the standard policy and practice of FISC to fail to advise unrepresented consumers

such as the Plaintiff that they could take no legal action against them

28.     It is the standard policy and practice of FISC attempt to collect, collect or to file lawsuits

on deficiency-barred debt
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29.       It is the standard policy and practice of FISC to misrepresent to consumers that they are

obligated to pay the deficiency amount.

                                  FIRST CAUSE OFACTION
   (For Violations of the District of Columbia Automobile Financing and Repossession Act,
                                     16 DCMR § 300 et seq.)

The preceding and proceeding paragraphs are incorporated by reference as though fully set forth

herein

30.      As is hereinabove alleged, the AFRA, regulates automobile financing and repossession of

motor vehicles purchased primarily for personal or family purposes. The retail installment sales

contracts cited as the basis for FISC's claims Ms. Bell and other members of the proposed class

are subject to and governed by the provisions ofthe AFRA.

31.      As is hereinabove alleged, FISC committed material violations of the AFRA. The

Statutory Notice drafted by FISC, ostensibly pursuant to 16 DCMR § 342.2, prior to and

following the repossession motor vehicles owned by Plaintiff, et al, does not contain the

statutorily-mandated disclosures and information required by 16 DCMR § 300 et seq and

contains other defects and omissions.

32.      FISC failed to provide members of the proposed class all of the information and

disclosures relating to repossession and collection of a deficiency amount under 16 DCMR

§ 340.5.

33.      FISC violated the CPPA by failing to comply with Title 16 of the AFRA.

34.      As a direct and proximate result of the acts hereinabove alleged and FISC's ongoing

unlawful conduct, Plaintiff Ms. B ell, et al have been or will be damaged, and are entitled to

statutory damages in an amount to be proven at trial, in that FISC.

35.      Plaintiff seeks recovery of her attorneys' fees, costs and expenses incurred in the filing   -J
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and prosecution of this action.

WHEREFORE, Plaintiff, et al prays for relief as set forth below.


                                 SECOND CA IISE OF ACTION
                   (Fair Debt Collections Practices Act,15 U.S. C. § 1692 et seq)

The preceding and proceeding paragraphs are incorporated by reference,as fnough fully set forth

herein

36.      Section 1692e of the FDCPA, prohibits debt collectors from using any false, deceptive, or

inisleading representation or means in connection with the collection of any debt.

37.      Section 1692e(9) prohibits written communications which ...create a false impression as

to its source, authorization or approval

38.      Section 1692e(2)(A) prohibits the false representation of ... the character, amount, or

legal status of any debt

39.      Section 1692e(10) prohibits the use of any false representation or deceptive means to

collect or attempt to collect any debt or to obtain information concerning a consumer

40.      Section 1692(a) prohibits unfair or deceptive acts or practice

41.      Section § 1692d prohibits a debt collector from engaging in any conduct the natural

consequence of which is to harass, oppress, or abuse any person in connection with the collection

of a debt.

42.      Section 1692f prohibits a debt collector from using unfair or unconscionable means to

collect or attempt to collect any debt.

43.      FISC violated the FDCPA and/or state consumer statutes by falsely representing the

character, amount or legal status of debt.
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44. FISC violated the FDCPA and/or state consumer statutes by falsely representing or

implying that a deficiency is owed.

45. FISC violated the FDCPA and/or state consumer statutes by failing to advise

unrepresented consumers that FISC has no right to a deficiency amount.

46.      FISC engaged in abusive collection activities under the FDCPA.

47.      FISC engaged in unfair or deceptive practices under the FDCPA and made false

representations relating to collection of deficiency amounts relating to repossession.

WHEREFORE, Plaintiff prays for relief as set forth below.

                              THIRD CAUSE OFACTION
  (District of Columbia Consumer Procedures and Protections Act, D. C. Code§ 3901 et seq)

The preceding and proceeding paragraphs are incorporated by reference as though fully set forth

herein

48. , FISC engaged in deceptive acts and practices in the conduct in commerce or trade by

engaging in unfair and deceptive debt collection and litigation activities in violation of the

CPPA, D.C. Code § 28-3901 et seq.

49. FISC is a merchant under the CPPA

50.      D.C. Code § 28-3904 prohibits multiple unlawful trade practices in the District of

Columbia

         (a) represent that goods or services have a source, sponsorship, approval, certification,

         accessories, characteristics, ingredients, uses, benefits, or quantities that they do not have;

         (b) represent that the person has a sponsorship, approval, status, afFiliation, certification,

         or connection that the person does not have;

            misrepresent_as to_amateriaLfact which-has-a-tendency to-mislead;                         -—
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          (e-1) [r]epresent that a transaction confers or involves rights, remedies, or obligations

          which it does not have or involve, or which are prohibited by law;

          (f) fail to state a material fact if such failure tends to mislead;

          (f-1) [u]se innuendo or ambiguity as to a material fact, which has a tendency to mislead;

51.       FISC's acts as described above were done intentionally with the purpose of coercing Ms.

Bell, et al to pay the alleged debt.

52.       Any failure to abide by the requirements of AFRA constitutes an unfair trade practice.

D.C. Code § 28-3904 (dd).

53.       The acts and practices alleged under the FDCPA also constitute unfair or deceptive acts

or practices in violation of D.C. Code § 28-3904

54.       FISC failed to disclose material facts which have a tendency to mislead in violation of

D.C. Code § 28-3904(f), including that Ms. Bell, et al is not obligated for the deficiency amourit

sought.

55.       FISC misrepresented material facts that have a tendency to mislead in violation of D.C.

Code § 28-3904(e), including, but not limited to: misrepresenting that consumers are obligated to

pay deficiency balances or that the debt is viable, collecting barred deficiency amounts from DC

consumers via letter, telephone calls, adverse credit reporting.

56.       FISC engaged in abusive collection activities under the CPPA.

57.       FISC engaged in unfair or deceptive practices under the CPPA and made false

representations constituting fraud.

58.       The use of the letters, telephone calls, adverse credit reporting to collect deficiency

amounts and the failure to comply with Title 16 before/after sale of the repossessed motor

vehicle, FISC engaged in a"trade practice" as defined by DC Code: § 28-3901(a)(6).
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WHEREFORE, Plaintiff prays for relief as set forth below.

                                 FOURTH CAUSE OF ACTION
                                    (For an Accounting)

The preceding and proceeding paragraphs are incorporated by reference as though fully set forth

herein

59.      The relationship between the class members, on the one hand, and FISC, on the other

hand, is one for which an accounting is necessary, because FISC has improperly and unlawfully

collected money from numerous members of the class.

60.      An accounting by a referee and under the administration of the Couri: is necessary to

determine the amount to be disgorged by FISC and amounts to be refunded to Ms. Bell and

members of the class.

                                   FIFTH CAUSE OF ACTION
                  (District of Columbia Debt Collection Law — Individual Claim)

The preceding and proceeding paragraphs are incorporated by reference as though fully set forth

herein

61.      D.C. Code § 28-3814(f) prohibits creditors or debt collectors from using any fraudulent,

deceptive, or misleading representation or means to collect or attempt to collect a debt

62.      D.C. Code § 28-3814(g) prohibits a creditor or debt collector from using unfair or

unconscionable means to collect or attempt to collect any debt

63.      D.C. Code § 28-3814(f)(1) prohibits a creditor or debt collector from using any

fraudulent, deceptive, or misleading representation or means to collect or attempt to collect

claims or to obtain information concerning consumers by the "use of any company name, while

engaged in debt collection, other than the creditor or debt collector's true company name"
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64.      D.C. Code § 28-3814(f)(8) provides that no creditor or debt collector shall represent that

an existing obligation of the consumer may be increased by the addition of attorney's fees .... or

any other fees or charges when in fact such fees or charges may not legally be added to the

existing obligation; and

65.      D.C. Code § 28-3814 (g)(4) provides that no creditor or debt collector shall collect or

attempt to collect any interest or other charge, fee, or expense incidental to the principal

obligation unless such interest or incidental fee, charge, or expense is expressly authorized by the

agreement creating the obligation a.nd legally chargeable to the consumer or unless such interest

or incidental fee, charge, or expense is expressly authorized by law

WHEREFORE,Plaintiff prays for relief as set forth below.

                                  SIXTH CAUSE OF ACTION
                               (Abuse of Process — Individual Claim)

The preceding and proceeding paragraphs are incorporated by reference as though fu11y set forth

herein

66. FISC instituted a lawsuit on behalf of an alleged client in order to co-erce Ms. Bell to pay

an alleged debt that they were not owed

67. FISC abused the repossession process by failing to comply with Title 16 of AFRA and

collected debts in an unlawful manner.

68. FISC abused the judicial process by filing a fraudulent affidavit stating that the amount

alleged in the complaint "is a just and true statement of the amount owing by the defendant to

plaintiff, exclusive of all set-offs and just grounds for defense.
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                                 SEVENTH CAUSE OF ACTION
                                 (Defamation — Individual Claim)

The preceding and proceeding paragraphs are incorporated by reference as though fully set forth

herein

69.      Upon information and belief, FISC made false statements to credit reporting agencies

regarding the instant Repossession

70.      Ms. Bell suffered harm to her reputation and her credit standing as a result of FISC's

actions.

                                     PUNITIVE DAMAGE5

The preceding and proceeding paragraphs are incorporated by reference as though fully set forth
herein                                       I




71.      FISC willfully, recklessly and consciously repossessed,Ms. Bell's vehicle and the

vehicles of inembers of the class in violation of state and federal laws.

72.      Upon information and belief, FISC had full knowledge of its noncompliance and

willfully failed to comply or even exhibit minimally acceptable levels of competence of entities

that engage in vehicle repossession so as to avoid the continued and extreme likelihood of the

violations against District of Columbia consumers.

73.      At all relevant times, FISC misrepresented material information concerning the

repossession of the vehicle and the amount owed, etc. witli full knowledge that its affirmative

representations were false, fraudulent, and misrepresented the truth at the time said

representations were made. FISC's material omissions and misrepresentations constitute malice.

74.      As a result of FISC's knowing and intentionally reckless acts, Ms. Bell and the class

members have been severely and substantially damaged and are entitled to recover punitive

damages against FISC for all the reasons stated herein.
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                                 VI. REQUEST FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that Judgment be entered against the

FISC in the amount of:

        (a)    Plaintiff's actual damages;

       (b)     $1,000.00 statutory damages, pursuant to 15 U.S.C. § 1692k;

       (c)     Treble damages, or $1,500 per violation, whichever is greater; DC Code: § 28-

               3905k(1)A; and

       (d)     Compensatory and exemplary damages for Plaintiff and class members

       (d)     Punitive Damages against the FISC for their willfal violations as is found

               appropriate pursuant to DC Code: § 28-38140)(2) and DC Code: § 28-3905k(1)C;

               and

       (e)     a declaratory judgment that FISC has violated the FDCPA and the

               CPPA;

       (f)     an order enjoining FISC from farther violations of the FDCPA and the CPPA, and

               enjoining FISC from the collection of deficiency barred debt; and

       (g)     Costs and reasonable attorney fees pursuant to 15 U.S.C. §§ 1692k, DC Code: §

               28-3813(2)(e) and DC Code: § 28-3905k(1)B;

       (h)     such other and further relief as the court deems just and equitable.


                                        JURY DElVIAND

Plaintiff, Ma Shun Bell, demands trial by jury.



Date: October 17, 2019                               Respectfully Submitted:
                                                     CONSUMER JUSTICE ESQ
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